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   County Court, County of Arapahoe, Colorado
   Court Address:
   1790 W. Littleton Blvd.
   Littleton, CO 80120



   Plaintiff(s): Clifford Lott

   v.

   Defendant(s): Medicredit, Inc., a Missouri corporation d/b/a The
   Outsource Group                                                     Δ COURT USE ONLY Δ

   Attorneys for Defendant:                              Case Number:2014C050502
   Thomas D. Leland, #35631
   Leah E. Capritta, # 32087
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   Denver, CO 80202                                      Division: Civil
   TLeland@lathropgage.com
   LCapritta@lathropgage.com
   Phone Number: 720.931.3200
   FAX Number: 720.931.3201
                         NOTICE OF FILING NOTICE OF REMOVAL
                                     BY MEDICREDIT, INC.


         Defendant Medicredit, Inc. submits the following Notice that it has filed a Notice of
  Removal in this action from the County Court for the County of Arapahoe, State of Colorado to
  the United States District Court for the District of Colorado. A copy of the Notice of Removal is
  attached hereto as Exhibit A.




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  Dated: December 12, 2014.                         By: s/ Leah E. Capritta
                                                        Leah E. Capritta, Bar No. 32087
                                                        Thomas D. Leland, Bar No. 35631
                                                        LATHROP & GAGE LLP
                                                        950 Seventeenth Street, Suite 2400
                                                        Denver, CO 80202
                                                        Telephone: 720.931.3200
                                                        Facsimile: 720.931.3201

                                                         Attorneys for Defendant Medicredit, Inc.


                                  CERTIFICATE OF SERVICE


         I certify that, on December 12, 2014, a true and accurate copy of this NOTICE OF
  FILING NOTICE OF REMOVAL BY MEDICREDIT, INC. was served on the other party(s) or
  attorney(s) by:

    Hand Delivery E-filed (ICCES) Faxed to this number                        or     by placing it in the
  United States mail, postage pre-paid, and addressed to the following:

  David M. Larson, Esq.
  88 Inverness Circle East, Suite E-102
  Englewood, CO 80112




                                               s/ Leah E. Capritta
                                               Defendant(s) or Attorney for Defendant(s) Signature




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